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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT 295) yey py py 2:39
for the
Southern District of Ohio

 

 

 

 

United States of America )
v. ) ome aie
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JUSTIN STOLL CaseNo. If
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)
Defendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 7, 2021 in the county of Clinton in the
Southern District of Ohio , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. 875(c) Interstate Threats
18 U.S.C. 1512(b)(3) Tampering with a Witness by Threat

This criminal complaint is based on these facts:

See attached affidavit of FBI Special Agent Caleb Yokley

@ Continued on the attached sheet.
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Géfnplainant 's signature

Caleb Yokley, Special Agent, FBI

Printed name and title

 

Sworn to before me and signed in my presence.

Date: fH

City and state: Cincinnati, Ohio Hon. Stephanie K. Bowman, U.S. Magistrate Judge
Printed name and title

    
  

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“t , ag
Judge 's signature

 
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IN THE UNITED STATES DISTRICT COURT a
FOR THE SOUTHERN DISTRICT OF OHIO ie3. ECCT RIC

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IN THE MATTER OF THE CRIMINAL

COMPLAINT OF:
JUSTIN STOLL

)
)
Case No. 1B21Nd-030
)
)

AFFIDAVIT IN SUPPORT OF |
CRIMINAL COMPLAINT AND ARREST WARRANT

I, Caleb Yokley, a Special Agent with the Federal Bureau of Investigation, being duly
sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

I. I submit this affidavit in support of a criminal complaint and arrest warrant
against JUSTIN STOLL for violations of Title 18, United States Code, Sections 875(c)
(Interstate Threats) and 1512(b)(3) (Tampering with a Witness by Threat).

2. lam a Special Agent with the Federal Bureau of Investigation (“FBI”) and
have been since 2019. I am assigned to the Cincinnati Division’s Joint Terrorism Task Force.
In this capacity, I am responsible for investigating violations of Title 18 of the United States
Code and other violations of federal law. | have conducted and participated in investigations
that involved the use of advanced investigative techniques such as: execution of search
warrants On computers, emails, other electronic devices and physical structures; physical and
electronic surveillance, and vehicles. During my investigations, I have participated in witness
interviews, subject interviews, and analysis of evidentiary items. I have received specialized
training in interviewing and interrogation techniques, search and seizure, and other

investigative techniques.
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a Prior to joining the FBI, J was an Assistant District Attorney (ADA) for the
Knox County District Attorney’s Office. As an ADA, I was primarily responsible for
prosecuting criminal cases involving domestic violence, firearms offenses, as well as other
misdemeanor and felony violations.

4. The facts in this Affidavit are based on my personal knowledge as well as on
information I learned from other sources, including law enforcement databases, reports
prepared by other law enforcement officers, and conversations | have had with other law
enforcement officers and witnesses involved in this investigation.

5. Because I am submitting this affidavit for the limited purpose of securing a
criminal complaint and arrest warrant, I have not included every fact that I know about this
investigation; I have set forth only those facts that I believe are necessary to establish
probable cause to believe that STOLL violated 18 U.S.C. §§ 875(c) and 1512(b)(3).

APPLICABLE LAW

6. Under 18 U.S.C. § 875(c), it is unlawful to knowingly transmit in interstate
commerce a communication containing a threat to kidnap or injure a person, where the
defendant transmitted the communication for the purpose of making a threat or knowing that
the communication would be viewed as a threat.

t Under 18 U.S.C. § 1512(b)(3), it is unlawful to knowingly intimidate or
threaten, or attempt to intimidate or threaten, another person with the intent to hinder, delay,
or prevent the communication to a law enforcement officer or judge of the United States of

information relating to the commission or possible commission of a federal offense.
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STATEMENT OF PROBABLE CAUSE

A. Introduction

6. The Federal Bureau of Investigation and the United States Attorney’s Office
for the Southern District of Ohio are investigating a riot that occurred at the U.S. Capitol
building on January 6, 2021, and whether individuals from this District may have traveled to
Washington, D.C., with the intent to commit federal crimes.

ys In connection with that investigation, FBI learned of a threat to injure a person
that was transmitted in interstate commerce. For the reasons given below, there is probable
cause to believe that JUSTIN STOLL, a resident of the Southern District of Ohio, transmitted
the threat, and that in doing so he violated 18 U.S.C. § 875(c) (interstate communication of
threat) and 18 U.S.C. § 1512(b)(3) (tampering with a witness by threat).

B. The Events of January 6, 2021, at the United States Capitol

8. On January 6, 2021, a joint session of the United States Congress convened at
the United States Capitol. During the joint session, elected members of the United States
House of Representatives and the United States Senate met in separate chambers of the
United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020.

9. With the joint session underway and with Vice President Mike Pence
presiding, a large crowd gathered outside the United States Capitol. Temporary and
permanent barricades were in place around the exterior of the U.S. Capitol building. U.S.
Capitol Police were present and attempted to keep the crowd away from the Capitol building

and the proceedings underway inside.
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10. At approximately 2:00 pm, some protesters broke through police barricades
and forced their way to the exterior fagade of the Capitol. At the time, the joint session was
still underway, and the exterior doors and windows of the Capitol were locked or otherwise
secured. Members of the U.S. Capitol Police attempted to maintain order and keep the crowd
from entering the Capitol; however, shortly after 2:00 pm, individuals in the crowd forced
entry into the U.S. Capitol, including by breaking windows.

11. Shortly thereafter, at approximately 2:20 pm, members of the U.S. House of
Representatives and U.S. Senate, including the President of the Senate, Vice President Mike
Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session of
the U.S. Congress was effectively suspended until shortly after 8:00 pm.

C. Identification of “Th3RealHuckleberry” as JUSTIN STOLL

12, On January 8, 2021, the FB] National Threat Operations Center received an
online tip about threatening posts made by users of the smartphone application “Clapper.”
The tip asserted that Clapper had been used by right-wing content creators to plan the attack
on the Capitol Building on January 6, 2021. The tip added that members of Clapper had used
the words “coup” and “insurrection” to describe their planned actions.

13. The tip further asserted that Clapper user “Th3RealHuckleberry” had posted a
video in which he had made concerning statements about politicians.

14. The FBI is currently reviewing Th3RealHuckleberry’s videos. I have not yet
found the specific video mentioned by the tipster in which the speaker allegedly made

concerning statements about politicians.
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15. Based on my training and experience and the information described below, I
believe that the user of Clapper username “Th3RealHuckleberry” is JUSTIN STOLL, a
resident of the Southern District of Ohio.

16. An open-source query for Clapper username “Th3RealHuckleberry” resolved
to Clapper account @Th3RealHuckleberry. @Th3RealHuckleberry’s profile page showed
several photos of the same person: a white male who appears to be in his late 30s or early 40s.
Based on my training and experience and the context of these images, | believe that these
photos show the individual who operates the account.

17. A Facebook query for “Th3RealHuckleberry” revealed a Facebook profile
page for a person identified as a “Talent/Brand Manager at Th3 Real Huckleberry.” Review of
the Facebook page led to the discovery of the Facebook page for an individual I will call T.S.
That Facebook profile shows a woman standing with a man who appears to be the same
individual shown on the profile picture for Clapper user Th3RealHuckleberry.

18. An open-source query on T.S. led to the discovery of a listed relative named
JUSTIN STOLL. A driver’s license query for JUSTIN STOLL revealed an active Driver
License with a DMV photo. The photo was a positive match to the user portrayed in
Th3RealHuckleberry’s photos and videos.

D. Videos showing that STOLL was present with protestors outside the
United States Capitol on January 6, 2021

19. On January 12, 2021, FBI Cincinnati learned of a video that had recently been
posted to Th3RealHuckleberry’s Clapper account. The video shows STOLL asking his
viewers if he should wear a black United States flag during his trip to Washington, DC. Based

on my training and experience and my review of the YouTube videos described below, |
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believe that STOLL was referring to the January 6, 2021 trip to the U.S. Capitol Building.
STOLL then explains what the black flag means: “[N]o enemy combatants will receive aid.
You will get no quarters from me. Basically, if you are an enemy combatant, you will be shot
on sight....I know this is the end-all flag. This is the it’s-too-late-to-give-a-shit flag.”

20. FBI agents also reviewed videos on the YouTube channel for user “Th3Real
Huckleberry.” The videos show a white male in a crowd of individuals gathered outside the
Capitol Building in Washington, DC. Based on my review of STOLL’s driver’s license, and
the fact that the YouTube account username is the same as STOLL’s Clapper username, |
believe that the individual pictured in the videos is STOLL.

21. The videos show STOLL outside the United States Capitol with other
protestors. In one video, STOLL pans the camera around to show his face. Other YouTube
videos on Th3RealHuckleberry’s channel show various angles of STOLL’s face throughout
the day as he participates in the activities at the Capitol.

22. In one of the videos, STOLL can be heard saying, among other things, “D.C. is
a motherfucking war zone! D.C.’s a war zone! D.C.’s a war zone! ... You ain’t got enough
cops, baby! We are at war at the Capitol... . we have taken the Capitol. This is our country.”

E. STOLL’s Threats Towards a Concerned Citizen

23. In response to Th3Real Huckleberry’s YouTube videos showing his activity at
the Capitol, STOLL received online responses from other online users who claimed he should
be arrested for his activity.

24. On or about January 7, 2021, an online user posted the following comment on

one of STOLL’s videos:
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20

Cool I’m glad I saved this video lol I hope you really went in the
capitol bldg. You'll have 10 years of free room and board waiting
for you.

Shortly thereafter, STOLL posted a video response to the online user in which

he showed a screenshot of the online user’s comment and then said:

26.

Snitch bitch first thing in the morning. Let’s see what the rat fuck
has to say, shall we? Cool, I’m glad I saved this video, lol. I hope
you really went into the capitol building. You'll have 10 years of
free room and board waiting for you. Well, that shows your
fucking ignorance because clearly, the capitol building is owned by
the people, so again, nothing will happen. Secondly, I never
admitted I went into it, did 1? Go watch the video again. Daddy’s
not stupid. [Wink.] Third, if you ever in your fucking existence
did something to jeopardize taking me away from my family, you
will absolutely meet your maker. You can play that for the D.A.
in court, I don’t care. If you ever jeopardize me, from being with
my family, you will absolutely meet your mother fucking maker,
and I will be the one to arrange the meeting. So go ahead and
play that shit, bitch. Keep this video. You might need it one day.

STOLL’s demeanor in the video is serious and aggressive. Below is a

screenshot from the video:

& Cool fim glad | saved this video
fol hope you really went in
the capitol bldg. Youll have 10
years of free room and board
waiting for you

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27. Based on the foregoing, there is probable cause to believe that JUSTIN
STOLL, a resident of the Southern District of Ohio, has violated 18 U.S.C. § 875(c)

(interstate communication of a threat) and 18 U.S.C. § 1512(b)(3) (tampering with a witness

by threat).
CONCLUSION
8. Based on the foregoing, I respectfully request that the Court issue the proposed

criminal complaint and arrest warrant.

Dated: [/14/ | LL Yeo

CALEB YOKLEY
Special Agent
Federal Bureau of Investigation

Sworn to before me this [ day of January, 2021.

Aue Aypoma—

N. STEPHANIE K. BOWMAN
United States Magistrate Judge
